
366 U.S. 716 (1961)
JANKO
v.
UNITED STATES.
No. 380, Misc.
Supreme Court of United States.
Decided May 29, 1961.
ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE EIGHTH CIRCUIT.
Norman S. London and Sidney M. Glazer for petitioner.
Solicitor General Rankin, Assistant Attorney General Rice and Meyer Rothwacks for the United States.
PER CURIAM.
Upon consideration of the confession of error by the Solicitor General and an examination of the entire record, the motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. The judgment is reversed and the case is remanded to the District Court for a new trial.
